Case 2:04-Cr-20419-BBD Document 46 Filed 07/07/05 Pa¢je 1 of 2 » Page|D 49

-Fn.so s#£.:_. on
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE ` ,
wESTERN DIvIsIoN 05 Jm- "'7 PH\Z' 23

 

HUMM.MD
UNITED sTATES oF AMERICA ) U.S.D*_STF§CTM
) W GFH-»; $$:BAPrHS
Plaintiff, )
)
vs. ) cR. No. 04-20419-13

MILTON COLLINS )

Defendant. )

 

oRDER 0N coNTINUANcE AND sPEcIFYING PERIOD oF EXCLUDABLE DELAY
AND S_EI'M

 

This cause came on for a suppression hearing and report date
on June 30, 2005. The Court has taken the motion to suppress under
advisement and will enter a ruling.

The Court hereby resets the trial date to September 6, 2005
with a Report Date on Thursdayl nugget 25l 2005 at 9:00 A.M., in
Courtroom 3, 9th Floor of the Federal Buildind, Memphis, TN.

The period from July 15, 2005 through September 16, 2005 is
excludable under 18 U.S.C; § 3161(h)(l)(F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

m rs so 0RDERED this [é*"‘\ day cf July, 2005.

 

ITED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

